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                      Minh C. Nguyen                                 Senior Forensic Chemist
                      Department of Justice                          Western Laboratory
                      Drug Enforcement Administration                Pleasanton, CA
                      Office of Forensic Sciences


                                         AREA OF EXPERTISE

Forensic Discipline

        Conducts analysis of the controlled substances in drug evidence that was submitted by the law
        enforcement and serves as an expert witness in court.

Expert Testimony
        Qualified and testified as an expert witness in federal court approximately 40 times.
        March 2023, Denver, Colorado, KM-20-0020.
        July 2021, Seattle, Washington, RL-18-0012.
        February 2019, Denver, Colorado, MK-18-0070.


                                   PROFESSIONAL EXPERIENCE

Drug Enforcement Administration
Senior Forensic Chemist, Western Laboratory, (Pleasanton, CA), 2002-Present
     • Analyze the controlled substances.
     • Testify in court.
     • Assist agents at the clandestine laboratory.
     • Provide training to the law enforcement.

Training
    • Advance Clandestine Laboratory - Site Safety Training, (Quantico, VA), 2016.
    • Liquid Chromatography-Mass Spectrometry (LC-MS), (San Francisco, CA), 2008.
    • Liquid Chromatrography, (Chicago, IL), 2008.
    • Management Institute Training, (Quantico, VA), 2006.
    • Basic Clandestine Laboratory School, (Quantico, VA), 2003.
    • Basic Chemist School, (Quantico, VA), 2003.


                               EDUCATION AND CERTIFICATIONS

Degree Program(s)
University of Minnesota Duluth, (Duluth, MN)
        Master of Science in Organic Chemistry, 2000
              Minor in Business Administration
        Bachelor of Science in Chemistry, 1999
              Minor in Mathematics



                                                                                                Exhibit 3A-1
                                                                                       Page 1 of 2 03/09/2023
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                           PRESENTATIONS AND LECTURES

•   Presenter, Controlled Substances and Current OPIOIDS, FENTANYL CRISIS at University of
    Minnesota Duluth, Department of Chemistry, (Duluth, MN), 2018.
•   Presenter, Fentanyl at San Jose Police Department, (San Jose, CA), 2018.
•   Lecturer, Clandestine Lab Recertification at DEA Seattle Field Division, (Seattle, WA), 2017.
•   Presenter, Forensic Chemist - Controlled Substances at University of Minnesota Duluth, Department
    of Chemistry, (Duluth, MN), 2011.
•   Lecturer, training to Ministry Public Security Institute of Vietnam, (Hanoi, Vietnam), 2011.
•   Presenter, An Unusual Compound Found in Cocaine Sample at CAC Meeting, (Oakland, CA), 2010.



                                       DISTINCTIONS

    2021     Exceptional Performance and On-A-Spot.
    2018     Academy Inductee, Swenson College of Science and Engineering, UMD.
    2017     Exceptional Performance and On-A-Spot.
    2016     Exceptional Performance and On-A-Spot.
    2015     Exceptional Performance.
    2014     Exceptional Performance.
    2013     Exceptional Performance.
    2012     Exceptional Performance.
    2011     Exceptional Performance.
    2009     Exceptional Performance.
    2008     Exceptional Performance and On-A-Spot.
    2006     Exceptional Performance and On-A-Spot.
    2003     On-A-Spot.




                                                                                    Exhibit 3A-2
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                                             U.S. Department of Justice
                                             Drug Enforcement Administration
                                             Western Laboratory
                                             6880 Koll Center Parkway
                                             Pleasanton, CA 94566
___________________________________________________________________________
www.dea.gov



TO:               Jennifer Clark
                  Assistant U. S. Attorney


FROM:             Minh C. Nguyen
                  Senior Forensic Chemist
                  DEA Western Laboratory


SUBJECT: RULE 16(a)(1)(G) SUMMARY OF TESTIMONY IN
UNITED STATES v. v. Justin Jose Romo, CR 23-14-M-DWM
DEA LIMS Case Number(s): 2022-SFL7-04527

Date: March 9, 2023


The following summary of testimony is provided as required by Federal Rule of Criminal
Procedure 16(a)(1)(G) and is a complete statement of my opinions, which are exclusive to and
address only the exhibit(s) identified in this summary:

1. My name is: Minh C. Nguyen

2. I am employed by the U.S. Department of Justice, Drug Enforcement Administration (DEA),
   in the capacity of Senior Forensic Chemist, and was so employed when I conducted the
   examinations and analyses described below. My qualifications to conduct the examinations
   and analyses, and to express an opinion as to the identity of the material contained in the
   exhibit(s) described below, are based on my knowledge, skill, experience, training, and
   education. See my attached Curriculum Vitae for additional information regarding my
   qualifications, including previous testimony offered in the last four years and any
   publications authored in the last ten years.

3. The opinions described below are based on the following chemical, physical, and
   instrumental analyses, the results generated by those analyses, and my interpretation of those
   results set forth in the forthcoming Laboratory Report and analyst notes.



SF Rule 16 (Chemistry) (March 2023)                Approved by: DEA Office of Forensic Sciences (SF)
                                                                                         Page 1 of 3

                                                                                      Exhibit 3B-1
     Case 9:23-cr-00014-DWM Document 17-3 Filed 03/23/23 Page 4 of 58
SUBJECT: RULE 16(a)(1)(G) SUMMARY OF TESTIMONY IN
UNITED STATES v. v. Justin Jose Romo, CR 23-14-M-DWM
DEA LIMS CASE NUMBER(S): 2022-SFL7-04527



   The manner and process by which I performed the analyses were, to the best of my
   knowledge, in accordance with the publicly available Analysis of Drugs Manual (ADM) and
   Laboratory Operations Manual (LOM), in effect at the time of analysis. These are generally
   available at:

   https://www.dea.gov/resources/documents?f%5B0%5D=publication_type%3A2596, or were
   otherwise disclosed upon request.

4. I analyzed the material contained in the exhibits which were submitted for analysis in the
   above referenced case number(s). My conclusions are included as part of forthcoming
   forensic laboratory reports and analyst notes.

5. The material referred to herein as exhibit #4, as represented in the forensic laboratory reports
   and accompanying case file, has been identified as follows:

       a. Substance(s) identified: Fentanyl, methamphetamine, acetaminophen and
          phenacetin*
       b. Net weight: 32.2 g ± 0.2 g **
       c. Purity of Fentanyl and Methamphetamine: N/A
       d. A statistical sampling approach based on the probability theory of the hypergeometric
          distribution was used.

    The above opinion is based on the following physical, chemical, and instrumental analyses:
       i. Gas chromatography.
       ii. Gas chromatography with mass spectrometry (GC-MS).
       iii. Immunoassay Test.

    The analytical methods used in the above analyses are validated and verified according to our
    quality assurance policy to ensure the methods are reliable and fit-for-purpose and the
    techniques utilized are widely accepted and employed in the scientific and forensic
    community. Summaries of instrumental methods are available at:

    https://www.dea.gov/resources/documents?f%5B0%5D=publication_type%3A2596

    *Fentanyl identified in 9 units tested of 299 units received indicating, to at least a 95% level
    of confidence, that at least 70% of the units in the population contain the substance(s).
    Methamphetamine also identified in 1 of the 9 units tested. Acetaminophen and phenacetin
    also identified in the exhibit.
    **The net weight was determined by direct weighing of all unit(s). The net weight
    uncertainty value represents an expanded uncertainty estimate at the 95% level of
    confidence.



SF Rule 16 (Chemistry) (March 2023)                  Approved by: DEA Office of Forensic Sciences (SF)
                                                                                           Page 2 of 3
                                                                                         Exhibit 3B-2
     Case 9:23-cr-00014-DWM Document 17-3 Filed 03/23/23 Page 5 of 58
SUBJECT: RULE 16(a)(1)(G) SUMMARY OF TESTIMONY IN
UNITED STATES v. v. Justin Jose Romo, CR 23-14-M-DWM
DEA LIMS CASE NUMBER(S): 2022-SFL7-04527


Pursuant to Fed. R. Crim. P. 16(a)(1)(G)(v), I approve the foregoing disclosure.

                                 Digitally signed by MINHCHAU
MINHCHAU NGUYEN NGUYEN
                            Date: 2023.03.09 15:18:34 -08'00'
__________________________________________________                  Date: 3/9/2023
Minh C. Nguyen, DEA Senior Forensic Chemist

                                        Digitally signed by STEVEN
                  STEVEN ALIYETTI       ALIYETTI
                                        Date: 2023.03.09 15:35:00 -08'00'
APPROVED: ________________________________________________________________

                     Steven L. Aliyetti, Supervisory Chemist       Date: 3/9/2023



   Attachment




SF Rule 16 (Chemistry) (March 2023)                Approved by: DEA Office of Forensic Sciences (SF)
                                                                                         Page 3 of 3
                                                                                       Exhibit 3B-3
                               Case 9:23-cr-00014-DWM Document 17-3 Filed 03/23/23 Page 6 of 58


                              U.S. Department of Justice                                                                                           Western Laboratory
                              Drug Enforcement Administration                                                                                      Pleasanton, CA



                                                                                                                                                                 Chemical Analysis Report
HSI - Kalispell                                                                                                         Case Number: 2022332400005801
2 Main Street, Suite 206                                                                                                LIMS Number: 2022-SFL7-04527
Kalispell, MT 59901


Observations, Results and Conclusions:

     Exhibit                                Substance(s) Identified                                         Net Weight                        Substance Purity               Amount Pure Substance
        4                              N-Phenyl-N-[1-(2-phenylethyl)                                       32.2 g ± 0.2 g                              ----                            ----
                                   -4-piperidinyl]propanamide (Fentanyl)
        4                                     Methamphetamine                                                                                          ----                            ----
        4                                       Acetaminophen                                                                                          ----                            ----
        4                                          Phenacetin                                                                                          ----                            ----

Remarks:
The net weight was determined by direct weighing of all unit(s). The net weight uncertainty value represents an expanded uncertainty
estimate at the 95% level of confidence.

Total dosage unit count = 299 tablets (net); 236 tablets (reserve)

Exhibit Details:
Date Accepted by Laboratory: 09/07/2022                                        Gross Weight: 47.4 g                                                    Date Received by Examiner: 12/01/2022

Exhibit                         No. Units                            Pkg. (Inner)                                      Form                                              Reserve Wt.
4                                   299                               Plastic Bag                                     Tablet                                                25.4 g
Remarks:
5.3 grams removed for special program.


Exhibit Analysis:
Sampling:
Fentanyl identified in 9 units tested of 299 units received indicating, to at least a 95% level of confidence, that at least 70% of the units in
the population contain the substance(s). Methamphetamine also identified in 1 of the 9 units tested. Acetaminophen and phenacetin also
identified in the exhibit.

Exhibit           Summary of Test(s)
4                  Gas Chromatography, Gas Chromatography/Mass Spectrometry, Immunoassay Test




The terminology used in the preparation of this report is consistent with the current Department of Justice Uniform Language for Testimony and Reports for
General Forensic Chemistry and Seized Drug Examinations.

Analyzed By: /S/ Minh Chau L. Nguyen, Senior Forensic Chemist                                                                                                 Date: 12/08/2022
Approved By: /S/ Steven L. Aliyetti, Supervisory Chemist                                                                                                      Date: 12/08/2022

DEA Form 113 August 2019                                                                                                                                                                      Page 1 of 1

                                                                                                       104                                                                 Exhibit 3C-1
                                                   CaseDocument
                               Case 9:23-cr-00014-DWM   Details   Report
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» I.A. Case #:               REDACTED / LIMS Case #: 2022-SFL7-04527

Investigating Agency: HSI - Kalispell

# of I.A. Exhibits: 1                                                   # of Lab Exhibits: 2



    Exhibit #     Lab Ex #                                                Lab Exhibit Description                                                            Container
        4                4      5 clear plastic bags, each contains various blue colors (blue and blue-green), round                                    SSEE (2162312)
                                shape with M 30 tablets.

Summary of Findings                                                                                                                          Analyst: MLNGUYEN (2022.12.07)

Findings
Exhibit                                                Gross Wt                 Net Wt (Reported)                         Net Wt              Reserve Wt          Retained Wt

4                                                        47.4 g                      32.2 g ± 0.2 g                  32.2 g ± 0.24061 g             25.4 g

            Constituent                                                     Purity                     APD (Reported)                                  APD
            N-Phenyl-N-[1-(2-phenylethyl)
            -4-piperidinyl]propanamide (Fentanyl)
            Methamphetamine
            Acetaminophen
            Phenacetin




Gross Weight                                                                                                                                 Analyst: MLNGUYEN (2022.12.07)
Equipment : DEA 365222
Gross Weight (Reported)                                      45.5 g

Gross Weight (Actual)                                        47.44 g

Gross Weight (delta)                                         1.94 g

Gross Weight (delta %)                                       4.089 %

Weight Discrepancy                                           No

Remarks                                                      No Remarks




Description of Evidence                                                                                                                      Analyst: MLNGUYEN (2022.12.07)

Seals                                                        Intact

Date Opened                                                  2022-12-01

Description                                                  One SSEE enclosing 5 clear plastic bags, each contains various blue colors (blue and
                                                             blue-green), round shape with M 30 tablets.
                                                             Note: total tablets counted: 299
Consistent With Paperwork?                                   No

Discrepancy Witness                                          JJFARIAS

Remarks                                                      DEA-7 doesn't mention various blue colors and total 299 tablets.
                                                             Note: Reopened on 12/07/2022 for GCFID tested.



Net Weight                                                                                                                                   Analyst: MLNGUYEN (2022.12.07)
Equipment : DEA 365222
Residue                                                      No

Type of Weighing                                             Direct Weighing

Net Weight                                                   32.2 g

Net Weight Uncertainty                                       0.2 g

Remarks                                                      net weight: full to empty; 299 total tablets counted.

Use Legacy Calculator                                        No




                                                                                                                                             Exhibit 3D-1
» I.A. Case #:             Case 9:23-cr-00014-DWM Document 17-3 Filed 03/23/23 Page 8 of 58
                        REDACTED / LIMS Case #: 2022-SFL7-04527

 Exhibit #      Lab Ex #                                              Lab Exhibit Description                                                      Container
      4            4       5 clear plastic bags, each contains various blue colors (blue and blue-green), round                                  SSEE (2162312)
                           shape with M 30 tablets.

Description of Exhibit and Sampling                                                                                                      Analyst: MLNGUYEN (2022.12.07)

Number of Packages                                      5 unit

Number of Units                                         299 unit

Package Type                                            Plastic Bag

Logo/Impression                                         No

Gross Form                                              Tablet

Top Logo                                                M

Bottom Logo                                             30

Tablet Shape                                            Round

Tablet Color                                            Various colors per container

Dry/Moist                                               N/A

Exemplar                                                No

Number of Units Tested                                  9 unit

Sampling Procedure                                      Screened 9 of 299 units (selected using Lottery Method A) by immunoassay and GC-MS.

Deviation from Sampling Plan                            No
Remarks                                                 No Remarks




GC-MS Analysis : Run # 1 - Set # 1 blank                                                                                                 Analyst: MLNGUYEN (2022.12.08)
Equipment : DEA 365172
Negative Control Run                                    Yes

Negative Control Type                                   Instrumental/Solvent

Negative Control Result                                 Pass

Solvent                                                 CH2Cl2 base extracted with NaHCO3 solution

Remarks                                                 blank clean; blank applies for 9 samples.




GC-MS Analysis : Run # 1 - Set # 2 tablet 1                                                                                              Analyst: MLNGUYEN (2022.12.08)
Equipment : DEA 365172
Negative Control Run                                    No

Sample Weighed                                          No

Solvent                                                 base extracted with NaHCO3 solution/CH2Cl2

Retention Time Matching                                 No

Remarks                                                 >baseline checked; suspected tablet binders and by-product are also indicated.
                                                        >dipyrone is also indicated; not pursue.

Spectral Result
Constituent                                                        Comments
N-Phenyl-N-[1-(2-phenylethyl)                                      retention time consistent with standard
-4-piperidinyl]propanamide (Fentanyl), Salt
Undetermined

Acetaminophen                                                      retention time consistent with standard

Dipyrone                                                           indicated; ID not pursued




                                                                                                                                         Exhibit 3D-2
» I.A. Case #:            Case 9:23-cr-00014-DWM Document 17-3 Filed 03/23/23 Page 9 of 58
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 Exhibit #     Lab Ex #                                              Lab Exhibit Description                                                       Container
      4            4       5 clear plastic bags, each contains various blue colors (blue and blue-green), round                                  SSEE (2162312)
                           shape with M 30 tablets.

GC-MS Analysis : Run # 1 - Set # 3 tablet 2                                                                                              Analyst: MLNGUYEN (2022.12.08)
Equipment : DEA 365172
Negative Control Run                                    No

Sample Weighed                                          No

Solvent                                                 base extracted with NaHCO3 solution/CH2Cl2

Retention Time Matching                                 No

Remarks                                                 >baseline checked; suspected tablet binders and by-product are also indicated.
                                                        >dipyrone is also indicated; not pursue.

Spectral Result
Constituent                                                        Comments
N-Phenyl-N-[1-(2-phenylethyl)                                      retention time consistent with standard
-4-piperidinyl]propanamide (Fentanyl), Salt
Undetermined




GC-MS Analysis : Run # 1 - Set # 4 tablet 3                                                                                              Analyst: MLNGUYEN (2022.12.08)
Equipment : DEA 365172
Negative Control Run                                    No

Sample Weighed                                          No

Solvent                                                 base extracted with NaHCO3 solution/CH2Cl2

Retention Time Matching                                 No

Remarks                                                 >baseline checked; suspected tablet binders and by-product are also indicated.
                                                        >dipyrone is also indicated; not pursue.

Spectral Result
Constituent                                                        Comments
N-Phenyl-N-[1-(2-phenylethyl)                                      retention time consistent with standard
-4-piperidinyl]propanamide (Fentanyl), Salt
Undetermined




GC-MS Analysis : Run # 1 - Set # 5 tablet 4                                                                                              Analyst: MLNGUYEN (2022.12.08)
Equipment : DEA 365172
Negative Control Run                                    No

Sample Weighed                                          No

Solvent                                                 base extracted with NaHCO3 solution/CH2Cl2

Retention Time Matching                                 No

Remarks                                                 >baseline checked; suspected tablet binders and by-product are also indicated.
                                                        >dipyrone is also indicated; not pursue.

Spectral Result
Constituent                                                        Comments
N-Phenyl-N-[1-(2-phenylethyl)                                      retention time consistent with standard
-4-piperidinyl]propanamide (Fentanyl), Salt
Undetermined




                                                                                                                                         Exhibit 3D-3
» I.A. Case #:            Case 9:23-cr-00014-DWM Document 17-3 Filed 03/23/23 Page 10 of 58
                       REDACTED / LIMS Case #: 2022-SFL7-04527

 Exhibit #     Lab Ex #                                              Lab Exhibit Description                                                       Container
      4            4       5 clear plastic bags, each contains various blue colors (blue and blue-green), round                                  SSEE (2162312)
                           shape with M 30 tablets.

GC-MS Analysis : Run # 1 - Set # 6 tablet 5                                                                                              Analyst: MLNGUYEN (2022.12.08)
Equipment : DEA 365172
Negative Control Run                                    No

Sample Weighed                                          No

Solvent                                                 base extracted with NaHCO3 solution/CH2Cl2

Retention Time Matching                                 No

Remarks                                                 >baseline checked; suspected tablet binders and by-product are also indicated.
                                                        >dipyrone is also indicated; not pursue.

Spectral Result
Constituent                                                        Comments
N-Phenyl-N-[1-(2-phenylethyl)                                      retention time consistent with standard
-4-piperidinyl]propanamide (Fentanyl), Salt
Undetermined




GC-MS Analysis : Run # 1 - Set # 7 tablet 6                                                                                              Analyst: MLNGUYEN (2022.12.08)
Equipment : DEA 365172
Negative Control Run                                    No

Sample Weighed                                          No

Solvent                                                 base extracted with NaHCO3 solution/CH2Cl2

Retention Time Matching                                 No

Remarks                                                 >baseline checked; suspected tablet binders and by-product are also indicated.
                                                        >dipyrone is also indicated; not pursue.

Spectral Result
Constituent                                                        Comments
N-Phenyl-N-[1-(2-phenylethyl)                                      retention time consistent with standard
-4-piperidinyl]propanamide (Fentanyl), Salt
Undetermined




GC-MS Analysis : Run # 1 - Set # 8 tablet 7                                                                                              Analyst: MLNGUYEN (2022.12.08)
Equipment : DEA 365172
Negative Control Run                                    No

Sample Weighed                                          No

Solvent                                                 base extracted with NaHCO3 solution/CH2Cl2

Retention Time Matching                                 No

Remarks                                                 >baseline checked; suspected tablet binders and by-product are also indicated.
                                                        >dipyrone is also indicated; not pursue.

Spectral Result
Constituent                                                        Comments
N-Phenyl-N-[1-(2-phenylethyl)                                      retention time consistent with standard
-4-piperidinyl]propanamide (Fentanyl), Salt
Undetermined




                                                                                                                                         Exhibit 3D-4
» I.A. Case #:            Case 9:23-cr-00014-DWM Document 17-3 Filed 03/23/23 Page 11 of 58
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 Exhibit #     Lab Ex #                                              Lab Exhibit Description                                                       Container
      4            4       5 clear plastic bags, each contains various blue colors (blue and blue-green), round                                  SSEE (2162312)
                           shape with M 30 tablets.

GC-MS Analysis : Run # 1 - Set # 9 tablet 8                                                                                              Analyst: MLNGUYEN (2022.12.08)
Equipment : DEA 365172
Negative Control Run                                    No

Sample Weighed                                          No

Solvent                                                 base extracted with NaHCO3 solution/CH2Cl2

Retention Time Matching                                 No

Remarks                                                 >baseline checked; suspected tablet binders and by-product are also indicated.
                                                        >dipyrone is also indicated; not pursue.

Spectral Result
Constituent                                                        Comments
N-Phenyl-N-[1-(2-phenylethyl)                                      retention time consistent with standard
-4-piperidinyl]propanamide (Fentanyl), Salt
Undetermined




GC-MS Analysis : Run # 1 - Set # 10 tablet 9                                                                                             Analyst: MLNGUYEN (2022.12.08)
Equipment : DEA 365172
Negative Control Run                                    No

Sample Weighed                                          No

Solvent                                                 base extracted with NaHCO3 solution/CH2Cl2

Retention Time Matching                                 No

Remarks                                                 >baseline checked; suspected tablet binders and by-product are also indicated.
                                                        >weak signal of suspected methamphetamine is also indicated; not pursue.
                                                        >dipyrone is also indicated; not pursue.

Spectral Result
Constituent                                                        Comments
Phenacetin                                                         retention time consistent with standard

Methamphetamine, Isomer & Salt Undetermined                        retention time consistent with standad

N-Phenyl-N-[1-(2-phenylethyl)                                      retention time consistent with standard
-4-piperidinyl]propanamide (Fentanyl), Salt
Undetermined




GC-MS Analysis : Run # 1 - Set # 11 fentanyl standard                                                                                    Analyst: MLNGUYEN (2022.12.08)
Equipment : DEA 365172
Negative Control Run                              No

Sample Weighed                                          No

Solvent                                                 base extracted with NaHCO3 solution/CH2Cl2

Retention Time Matching                                 No

Remarks                                                 fentanyl standard


Spectral Result
Constituent                                                        Comments
N-Phenyl-N-[1-(2-phenylethyl)                                      ---
-4-piperidinyl]propanamide (Fentanyl), Salt
Undetermined




                                                                                                                                         Exhibit 3D-5
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 Exhibit #      Lab Ex #                                               Lab Exhibit Description                               Container
      4            4        5 clear plastic bags, each contains various blue colors (blue and blue-green), round           SSEE (2162312)
                            shape with M 30 tablets.

GC-MS Analysis : Run # 1 - Set # 12 acetaminophen standard                                                         Analyst: MLNGUYEN (2022.12.08)
Equipment : DEA 365172
Negative Control Run                             No

Sample Weighed                                           No

Solvent                                                  base extracted with NaHCO3 solution/CH2Cl2

Retention Time Matching                                  No

Remarks                                                  acetaminophen standard


Spectral Result
Constituent                                                         Comments
Acetaminophen                                                       ---




GC-MS Analysis : Run # 1 - Set # 13 phenacetin standard                                                            Analyst: MLNGUYEN (2022.12.08)
Equipment : DEA 365172
Negative Control Run                              No

Sample Weighed                                           No

Solvent                                                  base extracted with NaHCO3 solution/CH2Cl2

Retention Time Matching                                  No

Remarks                                                  phenacetin standard


Spectral Result
Constituent                                                         Comments
Phenacetin                                                          ---




GC-MS Analysis : Run # 1 - Set # 14 meth standard                                                                  Analyst: MLNGUYEN (2022.12.08)
Equipment : DEA 365172
Negative Control Run                              No

Sample Weighed                                           No

Solvent                                                  base extracted with NaHCO3 solution/CH2Cl2

Retention Time Matching                                  No

Remarks                                                  AC-22-03


Spectral Result
Constituent                                                         Comments
Methamphetamine, Isomer & Salt Undetermined                         ---




GC Analysis : Run # 1 - Set # 1 blank                                                                              Analyst: MLNGUYEN (2022.12.08)
Equipment : DEA 365339
Negative Control Run                                     Yes

Negative Control Type                                    Instrumental/Solvent

Negative Control Result                                  Pass

Solvent                                                  CH2Cl2 base extracted with NaHCO3 solution

Remarks                                                  blank clean




                                                                                                                   Exhibit 3D-6
» I.A. Case #:            Case 9:23-cr-00014-DWM Document 17-3 Filed 03/23/23 Page 13 of 58
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 Exhibit #     Lab Ex #                                                Lab Exhibit Description                                                  Container
         4         4       5 clear plastic bags, each contains various blue colors (blue and blue-green), round                               SSEE (2162312)
                           shape with M 30 tablets.

GC Analysis : Run # 1 - Set # 2 sample                                                                                              Analyst: MLNGUYEN (2022.12.08)
Equipment : DEA 365339
Negative Control Run                                    No

Sample Weighed                                          No

Solvent                                                 base extracted with NaHCO3 solution/CH2Cl2

Remarks                                                 baseline checked; Only use GCFID run to confirm the present of methamphetamine in a
                                                        tablet.

Chromatographic Result
Constituent                                                      RT            Std RT           RT Match          Area    Comments
methamphetamine                                                0.682            0.681               Y             4.512   ---




GC Analysis : Run # 1 - Set # 3 meth standard                                                                                       Analyst: MLNGUYEN (2022.12.08)
Equipment : DEA 365339
Negative Control Run                                    No

Sample Weighed                                          No

Solvent                                                 base extracted with NaOH solution/CH2Cl2

Remarks                                                 AC-22-03


Chromatographic Result
Constituent                                                      RT            Std RT           RT Match          Area    Comments
methamphetamine                                                0.681            0.000               N         585.615     ---




Immunoassay Test : Run # 1 - Set # 1 blank                                                                                          Analyst: MLNGUYEN (2022.12.07)

Negative Control Run                                    Yes

Negative Control Result                                 Pass

Immunoassay Type                                        Fentanyl Immunoassay Test Strips

Lot Number                                              B2112007

Remarks                                                 blank clean; blank applies for 9 tablets.




Immunoassay Test : Run # 1 - Set # 2 tablets 1 - 9                                                                                  Analyst: MLNGUYEN (2022.12.07)

Negative Control Run                                    No

Immunoassay Type                                        Fentanyl Immunoassay Test Strips

Lot Number                                              B2112007

Applicable Units                                        1 to 9

Result                                                  Positive

Remarks                                                 results applied for 9 tablets tested.




Immunoassay Test : Run # 1 - Set # 3 fentanyl standard                                                                              Analyst: MLNGUYEN (2022.12.07)

Negative Control Run                                    No

Immunoassay Type                                        Fentanyl Immunoassay Test Strips

Lot Number                                              B2112007

Applicable Units                                        fentanyl standard 498

Result                                                  Positive

Remarks                                                 No Remarks




                                                                                                                                     Exhibit 3D-7
» I.A. Case #:              Case 9:23-cr-00014-DWM Document 17-3 Filed 03/23/23 Page 14 of 58
                          REDACTED / LIMS Case #: 2022-SFL7-04527

 Exhibit #       Lab Ex #                                               Lab Exhibit Description                                                   Container
      4               4      5 clear plastic bags, each contains various blue colors (blue and blue-green), round                               SSEE (2162312)
                             shape with M 30 tablets.

Reserve Weight                                                                                                                          Analyst: MLNGUYEN (2022.12.07)
Equipment : DEA 365222
Residue?                                                  No

Type of Calculation                                       Calculate Dosage Unit

Reserve Weight                                            25.43 g

Reserve Dosage Units                                      236.1 unit

Remarks                                                   New reserve weight: reserve net F with previous wt after GCFID tested.




Description of Reserve Evidence                                                                                                         Analyst: MLNGUYEN (2022.12.07)

Description                                               Sample placed in 3 new ziplock bags; empty package placed in a new ziplock bag. All
                                                          placed in an original SSEE.
Date Sealed                                               2022-12-06

Remarks                                                   No Remarks




Gross Weight After Analysis                                                                                                             Analyst: MLNGUYEN (2022.12.07)
Equipment : DEA 365222
Gross Weight After Analysis                               54.07 g

Remarks                                                   New GWAA after GCFID tested.




Exemplar Weight Removed                                                                                                                 Analyst: MLNGUYEN (2022.12.07)

Amount of Exemplar Removed                                5.3788 g

Remarks                                                   50 tablets.




                                                                                                                                         Exhibit 3D-8
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 Exhibit #    Lab Ex #                                  Lab Exhibit Description                                                      Container
      4           4       FPP                                                                                                      HSEE (2214592)


Description of Reserve Evidence                                                                                            Analyst: MLNGUYEN (2022.12.06)

Description                                Sample (50 tablets) placed in a new glass vial, a new plastic bottle, and a new HSEE.

Date Sealed                                2022-12-06

Remarks                                    No Remarks




Gross Weight - SP/LP                                                                                                       Analyst: MLNGUYEN (2022.12.06)
Equipment : DEA 365222
Gross Weight                               69.16 g

Remarks                                    No Remarks




Other SP Sample Weight                                                                                                     Analyst: MLNGUYEN (2022.12.06)
Equipment : DEA 365078
Number of Samples                          1

Other SP Total Sample Weight               5.3788 g

Other SP Average Sample Weight             5.3788 g

Remarks                                    50 tablets




                                                                                                                            Exhibit 3D-9
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LIMS Case Number: 2022-SFL7-04527
DEA-7 Exhibit Number: 4
Lab Exhibit Number: 4




                                                                   Exhibit 3D-10
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DEA Uncertainty Calculator Worksheet
 Direct Net Weight

Chemist:         MLNGUYEN                                LIMS #:                 2022-SFL7-04527
Date:            12/1/2022                               Laboratory:             Western
Ordno:           1132190                                 Lab Exhibit #:          4

Direct Weight Measurements

TaskID           Balance #         Weight (Full) (g)       Weight (Empty) (g)
T74462          DEA 365222                                          2.71
T74462          DEA 365222              34.91

                           Total Net Weight (g):          32.20



Uncertainty Factors

 Balance (g)     # Events         u(mass)(g)            u(w)(g)
    0.01              2             0.060152            0.12030

                  Combined Uncertainty u(w):            0.12030

           Expanded Uncertainty U (k = 2) (g):          0.24061

Unit Count:         299             Avg Net Wt/Unit (g):           0.10769 +/-       0.00080


Net Weight Results

Net Weight:           32.20000 +/-       0.24061 g            Relative U%
Report:                      32.2 +/-           0.2 g         0.75




                                                                                                   Exhibit 3D-11
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                                                           Exhibit 3D-14
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Case Attachments




                                                                   Exhibit 3D-46
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another
Laboratory?:
Reason for RUSH:   Needed for prosecution
Date Results        12/7/2022              Allow up to three (3) weeks for completion of Analysis
Needed:
All Fingerprint Analysis requests are now processed and triaged by the fingerprint supervisory
staff.
If you need RUSH Fingerprints, please contact FingerprintAnalysisRequests@dea.gov with your
request.
                    Name                   Email                                   Phone
Requesting Agent: Troy Capser              Troy.m.capser@ice.dhs.gov               406-250-1222
Supervisor:         Todd Holton            Todd.a.holton@ice.dhs.gov               406-755-2824
AUSA or             Jennifer Clark         jennifer.clark2@usdoj.gov               406-329-4265
Prosecutor:

Please return this form to: SFL7RushRequests@usdoj.gov
In the header, please indicate the word "RUSH", the case number, and exhibit number(s):
e.g., RUSH XX-18-0155 ex 1, 2, 3
V2.1 – 2022-07-15




                                                                                    Exhibit 3D-50
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